                                                                                                                                   MO-2 (3/07)
                                        UNITED STATES
                 Case 4:20-cr-00269-Y Document        DISTRICT
                                                128 Filed      COURTPage 1 of 1 PageID 1234
                                                          02/09/22
                                                       NORTHERN DISTRICT OF TEXAS
                                                            Fort Worth
                                                         _________________ DIVISION

                       Terry R. Means
HONORABLE___________________________________________,  Presiding
                       Michelle Moon
DEPUTY CLERK: ________________________________________                         Debbie Saenz
                                                         COURT REPORTER: ______________________________________
                       Cheryl Raper
LAW CLERK ____________________________________________   USPO ___________________________________________________
INTERPRETER __________________________________________

UNITED STATES OF AMERICA                                                                      Lindsey E. Beran, Errin Martin,
                                                                4:20-CR-269-Y
                                                    CR. No. _________________________( 1 ) _________________________________ AUSA
v.                                                                                      _____________________________
                                                                                        Joseph Lo Galbo                     AUSA
                                                                       §
                                                                       §
                                                                       §
                                                                       §
ERIC PRESCOTT KAY
________________________________                                       §                   William R. Wynn, (R), Michael Molfetta, (R)
                                                                                          _______________________________________
Defendant(s) Name and Number(s)                                                           Counsel for Deft(s) Appt-(A), Retd-(R), FPD-(F)

                                                   2nd  DAY OF             JURY        COURT TRIAL
               2-9-22
Date Held: ________________
Time in Court: ____________
                  5 hrs. 11 min.
Trial as to Counts: 1s and 2s of superseding indictment

Trial Status:          Completed by Jury Verdict     Continued from Previous Month      Directed Verdict    Evidence Entered
                       Hung Jury    Jury Selection Only, continued   Jury Selection or Verdict Only (No Trial Before this Judge)
                       Mistrial  Settled/Guilty Plea

                2
Days in Trial: ____________
Hearing Concluded:  Yes    No                                                                                   ),/('
     Deft.__________________ failed to appear, bench warrant to issue.
                                                                                                              February 9, 2022
     Pretrial Conference held prior to trial.                                                             .$5(10,7&+(//
     Voir dire begins.              Bench trial begins.           Waiver of Jury Trial.                 &/(5.86',675,&7
     Jury impaneled.      Jury selected        Jury sworn
     Jury trial held.                       . . . . . . Bench trial held.
                                                                                                              &2857
     Govt       Deft evidence presented.
     Deft ___________________ motion for ______________________ granted                      denied   moot.
     Govt motion for ___________________________                   granted    denied.
     Deft ________________ motion ________________________ taken under advisement.
     Deft ________________ motion _______________________ granted                       denied.
     Evidence concluded.
     Final arguments.      . . . .Court deliberating.
     Court's charge to the jury.
     Jury deliberating.    . . . .Jury questions filed.
     Jury verdict Rendered (See Verdict Form).
     Court verdict Rendered (See Verdict Form).
     Jury trial ends.
     Order for PSI, Disclosure and Sentencing dates entered.
     Sentencing set for _______________ at ____________ .
     Bond     continued       revoked
     Deft bond set to $ ___________       Cash     Surety    10%           PR.
     Defendant Custody/Detention continued.
     Defendant REMANDED to custody.

     STATUS OF EXHIBITS: In possession of the attorneys.
OTHER PROCEEDINGS:


Adjourned until. 9:30 a.m., February 10, 2022
